           Case 3:18-mc-80132-JSC Document 1 Filed 08/13/18 Page 1 of 2




 1   CHRISTOPHER A. STECHER, CASE No. 215329
     christopher.stecher@kyl.com
 2   KEESAL, YOUNG & LOGAN
     A Professional Corporation
 3   450 Pacific Avenue
     San Francisco, California 94133                                     filed
 4   Telephone:     (415) 398-6000
     Facsimile;     (415)981-0136
 5                                                                          AUQ 1
     TIMOTHY P. HARKNESS {pro hac vice to befiled)
 6

 7
     timothy.harkness@freshfields.com
     DAVID Y. LIVSHIZ (pro hac vice to be filed)
     david.livshiz@freshfields.com
                                                                      nort,,fU^DIS®°°CQmT
                                                                            hernDISTRI^CALIFORNIA^
     WERONiKA BUKOWSKI {pro hac vice to befiled)
 8   weronika.bukowski@freshfields.com
     FRESHFIELDS BRUCKHAUS DERINGER US LLP
 9   601 Lexington Avenue, 31st Floor
     New York, New York i0022
10   Telephone:     (212)277-4000
     Facsimile:     (212)277-4001
11
     Attorneys fi)r Applicant Palantir Technologies, Inc.
12

13                                   UNITED STATES DISTRICT COURT

14                                NORTHERN DISTRICT OF CALIFORNIA

15

16
                                             CV ?.&cAO 132.MISC
17
     EX PARTE APPLICATION OF PALANTIR
     TECHNOLOGIES, INC. FOR ORDER
                                                                                                     JS    w

     PURSUANT TO 28 U.S.C. § 1782 TO OBTAIN                  PALANTIR TECHNOLOGIES INC.'S EX
18                                                           PARTE APPLICATION FOR AN ORDER
     DISCOVERY FOR USE IN FOREIGN
     PROCEEDINGS                                             PURSUANT TO 28 U.S.C. § 1782 TO
19                                                           OBTAIN DISCOVERY FOR USE IN
                                                             FOREIGN PROCEEDINGS
20

21

22


23

24

25

26                  Based upon the accompanying Memorandum of Points and Authorities, and
21   Declarations of Walrod Prinz zu Waldeck und Pyrmont and Weronika Bukowski ("Bukowski
28   Declaration") and the Exhibits attached thereto. Applicant Palantir Technologies Inc. ("Palantir"),

     PALANTIRTECHNOLOGIES. INC.'S APPLICATION FORORDER PURSUANT TO 28 U.S.C. § 1782—CASE NO.
            Case 3:18-mc-80132-JSC Document 1 Filed 08/13/18 Page 2 of 2




 1   through its attorneys, hereby applies to this Court foran Ex Parte Order granting thisApplication' and
 2   enteringthe Proposed Order pursuant to 28 U.S.C. § 1782: (i) authorizing Applicant to serve Marc L.
 3   Abramowitz with the subpoenas attached as ExhibitsA and B to the Bukowski Declaration, (ii)
 4   directing Marc L. Abramowitz to produce documents responsive to the subpoena, (iii) directing
 5   Mr. Abramowitz to appear for a deposition, (iv) directing Mr. Abramowitz to preserve evidence, and
 6   (v) such other relief as this Court deems just and proper.

 7                   Applicant respectfully requests that the Court order the production of documents
 8   specified to the subpoena, unless otherwise agreed by the parties, on or before August 31, 2018.
 9                                                JURISDICTION

10                   This Court has subjectmatterjurisdictionover this action pursuant to 28 U.S.C.
11   §§ 1331 and 1782. The Court has personal jurisdiction over the object of the application because
12   Mr. Abramowitz resides in the state of California, county of San Francisco.

13

14   DATED: August 10,2018                           /s/ Christopher A. Stecher
                                                      CHRISTOPHER A. STECHER
15                                                    KEESAL, YOUNG & LOGAN

16                                                    TIMOTHY P. HARKNESS (pro hac vice)
                                                      DAVID Y. LIVSHIZ {pro hac vice)
17                                                    WERONIKA BUKOWSKI {pro hac vice)
                                                      FRESHFIELDS BRUCKHAUS DERINGERUS LLP
18
                                                     Pro Hac Vice Applications Forthcoming
19
                                                      Attorneys for Applicant
20                                                    Palantir Technologies, Inc.
21

22

23

24
     ' An ex parte application pursuant to 28 U.S.C. § 1782 is appropriate and is the typical procedure
25   when invoking this statute. See, e.g.. In re Ecuador. No C-10-80225 MISC CRB (EMC), 2010 U.S.
     Dist. LEXIS 102158, at *7 (N.D. Cal. Sept. 15, 2010) ("[I]t is common for the process of presenting
26
     the request to a court and to obtain the order authorizing discovery to be conducted ex parte. Such ex
27
     part applications are typically justified by the fact thatthe parties will be given adequate notice of any
     discovery taken pursuant to the request and will then have the opportunity to move to quash the
28   discovery or to participate in it.") (Internal quotations and citations omitted).
                                                       -2-
     PALANTIR TECHNOLOGIES, INC.'S APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782—CASE NO.
